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             UNITED STATES BANKRUPTCY APPELLATE PANEL
                        OF THE TENTH CIRCUIT
                    _________________________________

 IN RE LORENZO LUCIANO LOPEZ,
                                                        BAP No. UT-25-003
           Debtor.                                      BAP No. UT-25-004
 _______________________________

 JOHNATHAN RYAN DARGER,

             Appellant,                                 Bankr. No. 24-26705
                                                            Chapter 13
 v.

 LON A. JENKINS, Chapter 13 Trustee,
 and AUNTIE TUT TRUST,                              ORDER TO SHOW CAUSE

             Appellees.


                       _________________________________

      On January 28, 2025, Appellant filed a Notice of Appeal seeking to appeal four

orders: (1) Order Granting Auntie Tut Trust’s Motion for Post Bankruptcy Relief from

the Automatic Stay (“Stay Order”) [Bankr. ECF No. 28], (2) Unsigned Order Dismissing

Chapter 13 Case on Request by Debtor Pursuant to 11 USC § 1307(b) (“Unsigned

Dismissal Order”) [Bankr. ECF No. 29], (3) Order Dismissing Case (“Dismissal Order”)

[Bankr. ECF No. 30], and (4) Unsigned Order on Motion to Intervene (“Intervention

Order”) [Bankr. ECF No. 31]. On January 31, 2025, the Court issued an Order

Construing Notice of Appeal as Three Notices of Appeal, which assigned (1) the appeal

of the Stay Order to BAP Appeal No. UT-25-3; (2) the appeal of the Unsigned Dismissal
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Order and Dismissal Order to BAP Appeal No. UT-25-4; and (3) the appeal of the

Intervention Order to BAP Appeal No. UT-25-5.

       “Standing is a threshold issue in every federal case.”1 Because the issue of

standing is jurisdictional, it remains open to review at all stages of litigation.2 This Court

“has an independent duty to inquire into its jurisdiction over a dispute, even where

neither party contests it.”3 The Tenth Circuit recognizes that “although the Bankruptcy

Code ‘does not contain an explicit grant or limitation on appellate standing,’ only a

‘person aggrieved’ by a bankruptcy court’s order may appeal.”4 To qualify as a person

aggrieved, a party must show that the bankruptcy court order at issue “diminish[ed his]

property, increase[ed his] burdens, or impair[ed his] rights.”5

       It appears that Appellant may not have standing to appeal the Stay Order,

Unsigned Dismissal Order, and Dismissal Order. As this Court has an obligation to

satisfy itself that it has jurisdiction to hear this appeal, Appellant is directed to show

cause as to whether he has standing to appeal these orders.

           Accordingly, it is HEREBY ORDERED that:




       1
         In re Thomas, 469 B.R. 915, 921 (10th Cir. BAP 2012).
       2
         In re Lacy, 335 B.R. 729, 736 (10th Cir. BAP 2006) (citing Nat’l Org. for
Women, Inc. v. Scheidler, 510 U.S. 249, 255 (1994)).
       3
         In re Am. Ready Mix, Inc., 14 F.3d 1497, 1500 (10th Cir. 1994); see also In re
Petroleum Prod. Mgmt., Inc., 282 B.R. 9, 15 (10th Cir. BAP 2002) (citing Paine v.
Dickey (In re Paine), 250 B.R. 99, 104 (9th Cir. BAP 2000) (noting that a bankruptcy
appellate panel may raise jurisdictional issues sua sponte)).
       4
         Petroleum Prod., 282 B.R. at 15 (quoting Am. Ready Mix, 14 F.3d at 1500).
       5
         Id.
                                               2
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   1. Within fourteen (14) days from the date of this Order, Appellant must file

      with the Court a memorandum of law providing a legal explanation as to

      why Case Nos. UT-25-003 and UT-25-004 should not be dismissed for lack

      of jurisdiction due to his lack of standing to appeal. This memorandum

      must be served on all parties to the appeal.

   2. Appellees’ response, if any, is due seven (7) days from the date of service

      of Appellant’s memorandum.

   3. Failure to respond to this Order will result in the dismissal of these appeals

      for failure to prosecute. Fed. R. Bankr. P. 8003(a)(2); 10th Cir. BAP L.R.

      8026-4(b), (c).


                                          For the Panel


                                          Anne Zoltani
                                          Clerk of Court




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